                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
                                         )
v.                                       )                   Criminal No. 3:10-00064
                                         )                   Judge Trauger
                                         )
ROBERT LEE ARCHIBALD, JR., a/k/a “CHAN”, )
LOLETHIA MUSE, and                       )
DUANTEZ CORNELL JENKINS                  )
                                         )

                                            ORDER

       The Motion to Continue Hearing filed by defendant Archibald is DENIED, but counsel

for defendant Archibald are excused from appearance at the hearing. Defendant Archibald has

moved to continue the trial, filing a waiver of speedy trial in support. The court’s concern is

with the position of the other two defendants as to defendant Archibald’s Motion to Continue.

       It is so ORDERED.

       ENTER this 21st day of March 2013.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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